      Case 2:15-cr-00144-SMJ    ECF No. 337   filed 03/28/16   PageID.1058 Page 1 of 2




1                                                                           FILED IN THE
                                                                        U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON


2
                                                                   Mar 28, 2016
                                                      SEAN F. M AVOY, CLERK    C
3                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                 No. 15-CR-00144-SMJ-10
5
                               Plaintiff,
6                                              PROTECTIVE ORDER
                 v.
7
     KEVIN BROADNAX, JR., (10),
8
                               Defendant.
9

10         Before the Court, without oral argument, is the USAO’s Motion to Expedite

11   Motion for a Protective Order, ECF No. 318, and Motion for Protective Order,

12   ECF No. 117. The Court is fully informed and grants the motions.

13   //

14   //

15   //

16   //

17   //

18   //

19   //

20         Accordingly, IT IS HEREBY ORDERED:




     ORDER - 1
      Case 2:15-cr-00144-SMJ                         ECF No. 337                  filed 03/28/16   PageID.1059 Page 2 of 2




1               1.         The USAO’s Motion to Expedite, ECF No. 318, is GRANTED.

2               2.         The USAO’s Motion for Protective Order, ECF No. 317, is

3                          GRANTED.

4               3.         The Court enters the discovery protective order at ECF No. 175, as

5                          to Defendant Broadnax.

6               IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order

7    and provide copies to all counsel.

8               DATED this 28th day of March 2016.

9
                                       ________________________________
10                                     SALVADOR MENDOZA, JR.
                                       United States District Judge
11

12

13

14

15

16

17

18

19

20


     Q:\SMJ\Criminal\2015\USA v Dykhouse(sealed)-0144\Protective Order LC2 docx


     ORDER - 2
